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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 KHOSROW SADEGHIAN, ET AL.,                       §
          Plaintiffs,                             §
                                                  §
 v.                                               §
                                                  §            CASE NO. 4:07cv159
 THE TOWN OF LITTLE ELM,                          §
           Defendant.                             §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

 § 636. On September 4, 2008, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendations that Defendant’s Motion for Partial Summary Judgment (Dkt.

 25) be GRANTED, that Plaintiff Khosrow Sadeghian take nothing by his remaining claims, that

 Plaintiff Johnny Houston’s remaining claims be DISMISSED, and that the Town of Little Elm be

 awarded its reasonable attorney’s fees and costs.

        Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, this Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

 of the Court.    Therefore, Defendant’s Motion for Partial Summary Judgment (Dkt. 25) is

 GRANTED, Plaintiff Khosrow Sadeghian shall take nothing by his remaining claims, Plaintiff

 Johnny Houston’s remaining claims are DISMISSED, and the Town of Little Elm is awarded its




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 reasonable attorney’s fees and costs. The parties shall submit all affidavits and supporting

 documentation regarding Defendant’s attorney’s fees and costs in accordance with the report of the

 Magistrate Judge.

        IT IS SO ORDERED.

         SIGNED this 26th day of September, 2008.




                                                          ____________________________________
                                                          MICHAEL H. SCHNEIDER
                                                          UNITED STATES DISTRICT JUDGE




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